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 8                           UNITED STATES DISTRICT COURT

 9                          CENTRAL DISTRICT OF CALIFORNIA

10    UNITED STATES OF AMERICA,         )    Case No.     a ~ ~ Q - C.f~. - O~( t ~ ~C3D

11                     Plaintiff,       )    ORDER OF PRETRIAL DETENTION
                                                     AFTER HEARING
12               v.                     )        (18 U.S.C. § 3142(1))

13

14                     Defendant.

15
                                            I.
16
            A.   ( V) Upon motio     of the Government in a case that involves:
17
                       1.   ( ✓) a crime of violence or an offense listed in
18
                                    18 U.S.C. § 2332b(g)(5)(B), for which a
19
                                    maximum term of imprisonment of ten (10)
20
                                    ears or more is prescribed; or
21
                       2.   ( ✓) an offense for which the maximum sentence is
22
                                  life imprisonment or death; or
23
                       3.   (   ) an offense for which a maximum term of
24
                                  imprisonment of ten (10) years or more is
25
                                    prescribed in the Controlled Substances Act,
26
                                    Controlled Substances Import and Export Act
27
                                    or Maritime Drug Law Enforcement Act; or
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 1                     4.   (    ) any felony if defendant has been convicted of

 2                                 two or more offenses described in

 3                                 subparagraphs 1-3 above, or two or more state

 4                                 or local offenses that would have been

 5                                 offenses described in subparagraphs 1-3 above

 6                                 if a circumstance giving rise to federal

 7                                 jurisdiction had existed, or a combination of

 8                                 such offenses.

 9                     5.   (    ) any felony that is not otherwise a crime of

10                                 violence that involves a minor victim, or

11                                 possession or use of a firearm or destructive

12                                 device or any other dangerous weapon, or a

13                                 failure to register under 18 U.S.C. § 2250.

14          B.   Upon motion ( ~of by the Government (        ) of the Court sua

15               sponte, in a case that involves:

16                     1.   (~~ a serious risk that defendant will flee;

17                     2.   ( ~a serious risk that defendant will

18                          a.     ( ✓) obstruct or attempt to obstruct justice;

19                                 or

20                          b.     ( ~hreaten, injure, or intimidate a

21                                      prospective witness or juror or attempt

22                                      to do

23          C.   The Government ( ) is (        is not entitled to a rebuttable

24    presumption that no condition or combination of conditions will

25    reasonably assure defendant's appearance as required and the safety of

26    any person or the community.

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 1                                         II.

 2          A.   (~)        The Court finds by a preponderance of the evidence

 3                          that no condition or combination of conditions

 4                          will reasonably assure the appearance of defendant

 5                          as required;

 6          B.   (~         The Court finds by clear and convincing evidence

 7                          that no condition or combination of conditions

 8                          will reasonably assure the safety of any other

 9                          person and the community.

10

11                                         III.

12          The Court has considered:

13          A.   ( ✓) the nature and circumstances of the offense (s) charged;

14          B.   (~ the weight of the evidence against defendant;

15          C.   ( ~) the history and characteristics of defendant;

16          D.   ( ~the nature and seriousness of the danger to any person

17                     or the community that would be posed by defendant's

18                     release;

19          E.   ( ~ the Pretrial Services Report/Recommendation;

20          F.   ( y" the evidence proffered/presented at the hearing;

21          G.   ( !~' the arguments of counsel.

22    ///

23    ///

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 1                                                   IV.

2           The Court concludes:

 3          A.   ( V) Defendant poses a risk to the safety of other persons

 4                            and the community based on:         InS~-~..~'      ~l~~,a.~~xS

5                    ~r+~ S        off' ~.-b~o't-w~.~-e.           ''' S'~/et-F

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 7

 8          B.   ( ~efendant poses a serious flight risk based on:

 9

to                ~c~t                        ,c.~t ; Q.E-~-~— sl last.-~ ~~,.~.,,,.--
11
12          C.   (     ) A serious risk exists that defendant will:

13                            1.   (   ) obstruct or attempt to obstruct justice;

14                            2.   (   ) threaten, injure or intimidate a prospective

15                                       witness or juror or attempt to do so;

16               based on:

17

18

19

20          D.   (     ) Defendant has not rebutted by sufficient evidence to

21                            the contrary the presumption provided in 18 U.S.C.

22                            ~ 3142(e) that no condition or combination of

23                            conditions will reasonably assure the safety of any

24                            other person and the community;

25               and/or

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                                                       4
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 1               (   ) Defendant has not rebutted by sufficient evidence to

2                      the contrary the presumption provided in 18 U.S.C.

 3                    § 3142(e) that no condition or combination of

 4                     conditions will reasonably assure the appearance of

5                      defendant as required.

 6          IT IS ORDERED that defendant be detained prior to trial.

 7          IT IS FURTHER ORDERED that defendant be committed to the custody

8     of the Attorney General for confinement to a corrections facility

 9    separate, to the extent practicable, from persons awaiting or serving

10    sentences or persons held in custody pending appeal.

11          IT IS FURTHER ORDERED that defendant be afforded reasonable

12    opportunity for private consultation with defendant's counsel.

13          IT IS FURTHER ORDERED that, on Order of a Court of the United

14    States or on request of an attorney for the Government, the person in

15    charge of the corrections facility in which defendant is confined

16    deliver defendant to a United States Marshal for the purpose of an

17    appearance in connection with a court proceeding.

18          DATED:      ~O /    -?.o ~..~

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                                                 ORABLE JAC     INE CHOOLJIAN
21                                              ited Stat s   agistrate Judge

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